
PER CURIAM.
Petition for writ of habeas corpus is addressed to a decision of the District Court of Appeal, First District, Young v. State of Florida, Fla.App.1963, 159 So.2d 121, affirming a trial court order denying a motion to vacate filed pursuant to Rule 1, Supreme Court Rules of Criminal Procedure, F.S.A. ch. 924 App. The petition here asserts no grounds for- invoking the jurisdiction of this Court under Section 4, Article V of the Florida Constitution, F.S. A.
The writ is accordingly denied.
DREW, C. J., and ROBERTS, THORN-ÁL, O’CONNELL and CALDWELL, JJ., concur.
